Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 1 of 79




                                            CONFIDENTIAL Avi & Evan Schottenstein 3279
                                  TAB 100, PAGE 1
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 2 of 79




                                            CONFIDENTIAL Avi & Evan Schottenstein 3280
                                  TAB 100, PAGE 2
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 3 of 79




                                            CONFIDENTIAL Avi & Evan Schottenstein 3281
                                  TAB 100, PAGE 3
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 4 of 79




                                            CONFIDENTIAL Avi & Evan Schottenstein 3282
                                  TAB 100, PAGE 4
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 5 of 79




                                            CONFIDENTIAL Avi & Evan Schottenstein 3283
                                  TAB 100, PAGE 5
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 6 of 79




                                            CONFIDENTIAL Avi & Evan Schottenstein 3284
                                  TAB 100, PAGE 6
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 7 of 79




                                            CONFIDENTIAL Avi & Evan Schottenstein 3285
                                  TAB 100, PAGE 7
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 8 of 79




                                            CONFIDENTIAL Avi & Evan Schottenstein 3286
                                  TAB 100, PAGE 8
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 9 of 79




                                            CONFIDENTIAL Avi & Evan Schottenstein 3287
                                  TAB 100, PAGE 9
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 10 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3288
                                  TAB 100, PAGE 10
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 11 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3289
                                  TAB 100, PAGE 11
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 12 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3290
                                  TAB 100, PAGE 12
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 13 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3291
                                  TAB 100, PAGE 13
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 14 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3292
                                  TAB 100, PAGE 14
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 15 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3293
                                  TAB 100, PAGE 15
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 16 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3294
                                  TAB 100, PAGE 16
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 17 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3295
                                  TAB 100, PAGE 17
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 18 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3296
                                  TAB 100, PAGE 18
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 19 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3297
                                  TAB 100, PAGE 19
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 20 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3298
                                  TAB 100, PAGE 20
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 21 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3299
                                  TAB 100, PAGE 21
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 22 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3300
                                  TAB 100, PAGE 22
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 23 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3301
                                  TAB 100, PAGE 23
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 24 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3302
                                  TAB 100, PAGE 24
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 25 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3303
                                  TAB 100, PAGE 25
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 26 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3304
                                  TAB 100, PAGE 26
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 27 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3305
                                  TAB 100, PAGE 27
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 28 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3306
                                  TAB 100, PAGE 28
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 29 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3307
                                  TAB 100, PAGE 29
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 30 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3308
                                  TAB 100, PAGE 30
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 31 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3309
                                  TAB 100, PAGE 31
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 32 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3310
                                  TAB 100, PAGE 32
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 33 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3311
                                  TAB 100, PAGE 33
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 34 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3312
                                  TAB 100, PAGE 34
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 35 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3313
                                  TAB 100, PAGE 35
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 36 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3314
                                  TAB 100, PAGE 36
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 37 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3315
                                  TAB 100, PAGE 37
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 38 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3316
                                  TAB 100, PAGE 38
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 39 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3317
                                  TAB 100, PAGE 39
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 40 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3318
                                  TAB 100, PAGE 40
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 41 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3319
                                  TAB 100, PAGE 41
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 42 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3320
                                  TAB 100, PAGE 42
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 43 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3321
                                  TAB 100, PAGE 43
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 44 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3322
                                  TAB 100, PAGE 44
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 45 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3323
                                  TAB 100, PAGE 45
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 46 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3324
                                  TAB 100, PAGE 46
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 47 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3325
                                  TAB 100, PAGE 47
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 48 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3326
                                  TAB 100, PAGE 48
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 49 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3327
                                  TAB 100, PAGE 49
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 50 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3328
                                  TAB 100, PAGE 50
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 51 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3329
                                  TAB 100, PAGE 51
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 52 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3330
                                  TAB 100, PAGE 52
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 53 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3331
                                  TAB 100, PAGE 53
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 54 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3332
                                  TAB 100, PAGE 54
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 55 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3333
                                  TAB 100, PAGE 55
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 56 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3334
                                  TAB 100, PAGE 56
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 57 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3335
                                  TAB 100, PAGE 57
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 58 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3336
                                  TAB 100, PAGE 58
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 59 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3337
                                  TAB 100, PAGE 59
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 60 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3338
                                  TAB 100, PAGE 60
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 61 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3339
                                  TAB 100, PAGE 61
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 62 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3340
                                  TAB 100, PAGE 62
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 63 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3341
                                  TAB 100, PAGE 63
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 64 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3342
                                  TAB 100, PAGE 64
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 65 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3343
                                  TAB 100, PAGE 65
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 66 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3344
                                  TAB 100, PAGE 66
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 67 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3345
                                  TAB 100, PAGE 67
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 68 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3346
                                  TAB 100, PAGE 68
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 69 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3347
                                  TAB 100, PAGE 69
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 70 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3348
                                  TAB 100, PAGE 70
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 71 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3349
                                  TAB 100, PAGE 71
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 72 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3350
                                  TAB 100, PAGE 72
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 73 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3351
                                  TAB 100, PAGE 73
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 74 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3352
                                  TAB 100, PAGE 74
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 75 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3353
                                  TAB 100, PAGE 75
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 76 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3354
                                  TAB 100, PAGE 76
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 77 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3355
                                  TAB 100, PAGE 77
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 78 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3356
                                  TAB 100, PAGE 78
Case 1:21-cv-20521-BB Document 76-30 Entered on FLSD Docket 03/07/2022 Page 79 of 79




                                             CONFIDENTIAL Avi & Evan Schottenstein 3357
                                  TAB 100, PAGE 79
